          Case 1:20-cv-08592-LGS Document 6 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 TYRONE H. MASSEY,

                               Plaintiff,

                   -against-                                 20-CV-8592 (LGS)

                                                           ORDER OF SERVICE
 CAPTAIN BOLANOS; CITY OF NEW
 YORK; DEPUTY WARDEN SHANNON,

                               Defendants.

LORNA G. SCHOFIELD, United States District Judge:

       The Clerk of Court is directed to notify the New York City Department of Correction and

the New York City Law Department of this order. The Court requests that Defendants Captain

Bolanos, Deputy Warden Shannon, and the City of New York waive service of summons.

SO ORDERED.

 Dated:   November 6, 2020
          New York, New York

                                                           LORNA G. SCHOFIELD
                                                          United States District Judge
